Case 1:21-cv-24324-DPG Document 1-7 Entered on FLSD Docket 12/14/2021 Page 1 of 3




                       EXHIBIT “D”
Case 1:21-cv-24324-DPG Document 1-7 Entered on FLSD Docket 12/14/2021 Page 2 of 3




  From: "Brian C. Shevland" <shevland@yahoo.com>
  Date: January 22, 2021 at 6:40:39 AM PST
  To: Patrick Orlando <porlando@benesserecapital.com>
  Subject: Shares agreement
  Reply-To: "Brian C. Shevland" <shevland@yahoo.com>


  Patrick,
  I would like to get our situation resolved today so I can move money where it needs to
  go and not have it all sitting in my bank account. I am sure you can recognize the
  disappointment from my side on how this is being handled so I can tell you how I would
  have handled the situation if the roles were reversed.

  Once I make an agreement with someone that entails them selling positions, moving
  money, and transferring them to me based simply on trust, I would stand behind it
  unless they did something in violation of the understanding of that agreement. How I
  would have handled the situation is to say "I am going to honor our agreement because
  I said I would but you need to commit to me that I get the same terms on the SPACs we
  do together in the future and for the first 3-5 IB deals that I put through the B/D I want
  you to reduce the B/D portion from 20% to 10%. Doesn't need to be exactly those terms
  but I always prefer to honor the agreement but make adjustments to the future to make
  sure everyone is happy. Instead I was told that you would reduce my allotment by 50%
  to keep you where you wanted to be. These 2 solutions are obviously worlds apart.

  Me saying you can just reduce my allotment by 25% to put this behind us should be a
  very small ask. I did absolutely nothing wrong and I followed exactly what we agreed to.

  I already have made contacts at other SPACs and opportunities are going to come to
  me to invest in the Sponsorship shares of those SPACs as well which I am happy to
  extend preferred economics to you. I just want to look at this first situation as the
  beginning as a very long and very profitable relationship for both of us. I have done a lot
  of heavy lifting for 20 years so that you and the rest of the team don't have to do it. I
  have incredible relationships that will feed our business and I would expect you and Eric
  as well as the rest of the team to benefit for many years to come. I really think we are in
  a situation where 1+1=5.


                                                 1
Case 1:21-cv-24324-DPG Document 1-7 Entered on FLSD Docket 12/14/2021 Page 3 of 3

  If you would like to figure out an arrangement which allows you to stand behind the
  terms of our original agreement, one that benefits you in other ways, I am all ears. If not,
  can we agree that I wire you $375,000 today for 187,500 shares and we focus on
  making sure this SPAC is a success and just the beginning of many more successes?

  Sincerely,
  Brian




                                               2
